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UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                   Houston              Main Case Number          18-32106 (MI)
          Debtor            In Re:                    Erin Energy Corporation, et al.


This lawyer, who is admitted to the State Bar of                  New York                  :

                       Name                             John A. Morris, Esq.
                       Firm                             PACHULSKI STANG ZIEHL & JONES LLP
                       Street                           780 Third Avenue, 34th Floor
                 City & Zip Code                        New York, NY 10017-2024
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                                                        2405397
             Licensed: State & Number

Seeks to appear as the attorney for this party:

                             Official Committee of Unsecured Creditors


 Dated: June 15, 2018                     Signed: /s/ John A. Morris




 COURT USE ONLY: The applicant’s state bar reports their status as:                             .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge
